                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     CRIMINAL DOCKET NO.: 3:01CR202-3-V

UNITED STATES OF AMERICA,       )
                                )
           vs.                  )                         ORDER
                                )
PAUL BERNARD SUTTA,             )
           Defendant.           )
________________________________)

       THIS MATTER is before the Court upon receipt of a “Second Supplement To The

Presentence Report” with reference to the above captioned criminal matter.

       Defendant was sentenced on March 31, 2005. At the time of sentencing, the Court

authorized a ninety (90) day delay for purposes of determining additional victims and

restitution amounts. Judgment was entered on June 9, 2005. The Judgment indicated that

the total amount of restitution had not been determined and that an addendum would be

forthcoming. After further investigation by U.S. Probation, it is appropriate to increase the

amount of restitution owed by $379,186.78.          Therefore, the total restitution due is

$13,664,460.26.1

       IT IS, THEREFORE, ORDERED that the Deputy Clerk shall prepare an Amended

Judgment reflecting the total amount of restitution due and including the Second

Supplement To The Presentence Report, dated June 21, 2005, as an attachment to the

Amended Judgment.




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         Counsel both agree that since the restitution amount is not disputed by Defendant
Sutta, there is no need for a second sentencing hearing prior to entry of an Amended
Judgment.


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      IT IS FURTHER ORDERED that the Deputy Clerk shall forward a copy of this Order

to the U.S. Marshal’s Service, U.S. Attorney, U.S. Probation, Defense Counsel, and

Defendant.




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                         Signed: June 27, 2005




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